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FILED
IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF OHIO JAN 23 2025
EASTERN DIVISION CLERK. U.S. DISTRICT COURT
NORTHERN DISTRICT OF OHIO
UNITED STATES OF AMERICA, ) INDICTMENT
)
Plaintiff, ) e
) AB
v. ) CASE NO.
) Title 21, United States Code,
ANDRE L, BOWERS, ) Sections 841(a)(1), (b)(1)(A),
) (b)(1)(C) and 846
Defendant. }

JUDGE BARKER

(Attempted Possession with Intent to Distribute Cocaine,
21 U.S.C. §§ 846, 841(a)(1) and (b)(1)(A))

The Grand Jury charges:

1. On or about January 6, 2025, in the Northern District of Ohio, Eastern Division,
Defendant ANDRE L. BOWERS did knowingly and intentionally attempt to possess with the
intent to distribute five kilograms or more of a mixture and substance containing a detectable
amount of cocaine, a Schedule II controlled substance, in violation of Title 21, United States
Code, Sections 846, 841(a)(1) and (b)(1)(A).

COUNT 2
(Possession with Intent to Distribute Cocaine, 21 U.S.C. §§ 841(a)(1) and (b)(1)(C))

The Grand Jury further charges:
2. On or about January 6, 2025, in the Northern District of Ohio, Eastern Division,
Defendant ANDRE L. BOWERS did knowingly and intentionally possess with the intent to

distribute a mixture and substance containing a detectable amount of cocaine, a Schedule I
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controlled substance, in violation of Title 21, United States Code, Sections 841(a)(1) and

(b)(1)(C).
FORFEITURE
The Grand Jury further charges:
3. For the purpose of alleging forfeiture pursuant to Title 21, United States Code,

Section 853 the allegations of Counts 1 and 2 are incorporated herein by reference. As a result
of the foregoing offenses, Defendant ANDRE L. BOWERS shail forfeit to the United States any
and all property constituting or derived from any proceeds he obtained directly or indirectly as a
result of such violations, and any property used or intended to be used in any manner or part to

commit or to facilitate the commission of the such violations.

A TRUE BILL.

Original document - Signatures on file with the Clerk of Courts, pursuant to the E-Government

Act of 2002.

